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                         IN THE UNITED STATES DISTRICT COURT

                             FOR THE DISTRICT OF NEW MEXICO

THE ESTATE OF ROSE SKY TOLBERT,
by and through Personal Representative,
THEODORE BARUDIN, ESQ., and
PHILLIP TOLBERT AND CHARLENE
SUINA, Individually,

               Plaintiffs,
         v.
                                                            No. 19-CV-830 JB/LF
THE UNITED STATES OF AMERICA,

               Defendant.

    NOTICE OF COMPLETION OF BRIEFING OF UNITED STATES’ NOTICE OF
     NON-APPEARANCE AND MOTION FOR PROTECTIVE ORDER (DOC. 171)

         Defendant United States of America, pursuant to D.N.M. LR-Civ. 7.1(b), respectfully

notifies the Court that briefing is complete regarding the United States’ Notice of Non-Appearance

and Motion to Quash or for Protective Order, with the following pleadings and notices having been

filed:

         1.    United States’ Notice of Non-Appearance and Motion to Quash or for Protective

Order, Doc. 172, filed on July 9, 2021;

         2.    Plaintiffs’ Response in Opposition to United States’ Notice of Non-Appearance and

Motion to Quash or for Protective Order, Doc. 175, filed on July 23, 2021; and

         3.    United States’ Reply in Support of Its Notice of Non-Appearance and Motion to

Quash or for Protective Order, Doc. 180, filed on August 6, 2021.
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                                               Respectfully Submitted,

                                               FRED J. FEDERICI
                                               Acting United States Attorney


                                               /s/ Elizabeth M. Martinez 8/6/21
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                                 CERTIFICATE OF SERVICE

        I hereby certify that on August 6, 2021, I filed the foregoing pleading electronically through
the CM/ECF system which caused all parties or counsel to be served by electronic means as more
fully reflected on the Notice of Electronic Filing.


                                               /s/ Elizabeth M. Martinez 8/6/21
                                               ELIZABETH M. MARTINEZ
                                               Assistant United States Attorney




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